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10
                                 UNITED STATES DISTRICT COURT
11
                               NORTHERN DISTRICT OF CALIFORNIA
12
                                          SAN JOSE DIVISION
13

14     UNITED STATES OF AMERICA,                           Case No. 5:18-CR-00172-BLF
15            Plaintiff,                                   UNITED STATES’ DISCLOSURE OF
                                                           SUMMARY TESTIMONY AND
16                    v.                                   SUMMARIES OF VOLUMINOUS
                                                           EVIDENCE
17     MICHAEL KAIL,
18            Defendant.
19

20          The United States of America (“United States”) hereby provides notice that it intends to call

21 Federal Bureau of Investigation Financial Analyst Carlene Kikugawa to provide summary witness

22 testimony at trial. The United States also hereby provides notice that it intends to introduce into

23 evidence summaries of voluminous evidence pursuant to Federal Rule of Evidence 1006 and 611(a).

24          Defendant Michael Kail is charged in Counts 1 through 19 of the Indictment with wire fraud and

25 honest services fraud, in violation of 18 U.S.C. §§ 1343 and 1346, in Counts 20 through 22 with mail

26 fraud and honest services mail fraud in violation of 18 U.S.C. §§ 1341 and 1346, and in Counts 23

27 through 29 of the Indictment with engaging in monetary transactions in property derived from specified

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 1 unlawful activity, in violation of 18 U.S.C. §1957. Several categories of financial and business records

 2 will be introduced at trial, including but not limited to the following:

 3          1. Bank account and financial records from Wells Fargo Bank, accounts #xxxxx3142 and

 4                #xxxxx4748;

 5          2. Bank account and financial records from Silicon Valley Bank, accounts #xxxxx6623,

 6                #xxxxx2308, #xxxxx2285, and #xxxxx6619;

 7          3. Bank account and financial records from TD Ameritrade, Account #xxxxx6608;

 8          4. Charles Schwab account #xxxxx0071;

 9          5. Home purchase and escrow records from First American Title Company;

10          6. Financial records seized in the search of Defendant’s residence on November 30, 2015; and

11          7. Invoices and Purchase Orders admitted at trial.

12          The use of a summary witness and summaries of voluminous evidence will assist the jury in

13 understanding the evidence presented at trial.

14          I.       NOTICE OF SUMMARY WITNESS TESTIMONY

15          The United States intends to introduce summary witness testimony at trial. Specifically, during

16 its case-in-chief, the government intends to call Federal Bureau of Investigation (“FBI”) Financial

17 Analyst Carlene Kikugawa as a summary witness.

18          Subject to Rule 611(a), the government may call a summary witness to summarize voluminous

19 evidence. The use of a summary witness in complex conspiracy cases is an accepted practice. See United

20 States v. Baker, 10 F.3d 1374, 1412 (9th Cir. 1993) (admitting a summary agent’s testimony “was a

21 valid exercise of the district court’s discretion”), overruled on other grounds in Apprendi v. New Jersey,

22 530 U.S. 466 (2000). Summary testimony is admissible if it will “make the interrogation and

23 presentation effective for the ascertainment of the truth . . . .” Fed. R. Evid. 611(a); see also United

24 States v. Olano, 62 F.3d 1180, 1203-04 (9th Cir. 1995) (permitting the testimony of a summary witness

25 who used “a number of charts . . . [to summarize] the evidence presented by the government’s preceding

26 witnesses” in a fraud case); United States v. Marchini, 797 F.2d 759, 766 (9th Cir. 1986) (approving the

27 testimony of an IRS summary witness based on evidence adduced at trial, which included the testimony

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 1 of the previous witnesses and the government’s exhibits).

 2          The United States anticipates that the evidence in this case will establish that Defendant received

 3 hundreds of thousands of dollars from three companies (Netenrich, Inc., VistaraIT, LLC, and Netskope,

 4 Inc.), and received tens of thousands of options in eight companies (Netenrich, Inc., Netskope, Inc.,

 5 Platfora, Inc., Sumo Logic, Inc., Maginatics, Inc., Elasticbox, Inc., Numerify, Inc., and Docurated, Inc.)

 6 while he was involved in evaluating or purchasing products and services from those companies as Vice

 7 President of IT Operations at Netflix, Inc. The United States further anticipates that the evidence will

 8 establish that Defendant conducted numerous financial transactions with the cash proceeds of the fraud

 9 scheme by transferring proceeds from accounts in the name of Unix Mercenary, LLC to other accounts

10 Mr. Kail controlled, and to First American Title Company for the 2013 purchase of his residence. As a

11 result of numerous deposits and financial transactions involving at least seight bank accounts at four

12 financial institutions over approximately 30 months, it is anticipated that the evidence in this case is

13 sufficiently voluminous to call for a summary witness. See United States v. Olano, 62 F.3d 1180, 1203-

14 04 (9th Cir. 1995) (permitting the testimony of a summary witness who used “a number of charts . . . [to

15 summarize] the evidence presented by the government’s preceding witnesses” in a fraud case); see also

16 United States v. Paulino, 935 F.2d 739, 753–54 (6th Cir. 1991) (approving the use of a summary witness

17 to explain the government’s exhibit of an organizational chart of conspiracy members and

18 acknowledging an “established tradition” of allowing summary evidence “to aid the jury in the

19 examination of testimony or documents in evidence.”). Ms. Kikugawa’s summary testimony will assist

20 the jury in understanding this voluminous evidence and will obviate the need to call witnesses from the

21 banks themselves.

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            II.     NOTICE OF INTENT TO INTRODUCE SUMMARIES OF VOLUMINOUS
23                  EVIDENCE
24          The United States intends to introduce summaries of voluminous evidence at trial pursuant to
25 Fed. R. Evid. 1006. Specifically, the Government intends to introduce through Ms. Kikugawa

26 summaries of voluminous bank and financial records.

27          Rule 1006 governs the admissibility of charts, summaries, or calculations of voluminous
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 1 writings, recordings, or photographs that cannot be conveniently examined in court, whereas summary

 2 charts “analyzing testimony or documents already admitted into evidence are merely pedagogical

 3 devices, and are not evidence themselves.” United States v. Wood, 943 F.2d 1048, 1053 (9th Cir. 1991).

 4 Rule 1006 summaries must summarize information which is voluminous, available for inspection, and

 5 admissible (although not necessarily admitted), and are admissible themselves. See id.; see also United

 6 States v. Meyers, 847 F.2d 1408, 1412 (9th Cir. 1988); City of Phoenix v. Com/Systems, Inc., 706 F.2d

 7 1033, 1038 (9th Cir. 1983); United States v. Johnson, 594 F.2d 1253, 1255 (9th Cir. 1979). The

 8 proponent of a summary under Rule 1006 must establish the admissibility of the underlying documents

 9 as a condition precedent to introduction of the summary. Johnson, 594 F.2d at 1257; see also 9th Cir.

10 Pattern Jury Instructions (Criminal) 4.16. The proponent must also establish that that underlying

11 documents were made available to the opposing party for inspection. Paddack v. Dave Christensen,

12 Inc., 745 F.2d 1254, 1259 (9th Cir. 1984). Summaries must fairly represent the underlying documents,

13 and their admission into evidence is left to the trial court’s discretion. David & Cox v. Summa Corp.,

14 751 F.2d 1507, 1516 (9th Cir. 1985). The Ninth Circuit has repeatedly approved the use of Rule 1006

15 summaries, particularly where, as here, “when the documents are unmanageable or when the summaries

16 would be useful to the judge and jury.” United States v. Rizk, 660 F. 3d 1125, 1130 (9th Cir. 2011)

17 (quoting David & Cox, 751 F.2d at 1516); see also Goldberg v. United States, 789 F.2d 1341, 1343 (9th

18 Cir. 1986) (permitting testimony concerning summaries of voluminous tax records); United States v.

19 Shirley, 884 F.2d 1130, 1133 (9th Cir. 1989) (permitting summary chart of telephone calls to help jury

20 organize and evaluate evidence).

21          The Government also intends to offer into evidence summaries of financial records from banks

22 and stock option paperwork. Some of the bank exhibits are as long as 171 pages. Here, the government

23 intends to offer into evidence five categories of Rule 1006 summaries, all of which will be based upon

24 voluminous, admissible evidence. First, summaries of deposits of alleged specified unlawful activity

25 proceeds into accounts controlled by Defendant and Unix Mercenary, LLC (Attachment A). Second,

26 summaries of the bank accounts and transfers of funds to other accounts controlled by Defendant or

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 1 Unix Mercenary, LLC (Exhibit B1). Third, charts of the sources and uses of funds in Defendant’s and

 2 Unix Mercenary, LLC’s accounts. Fourth, summaries of flows of funds constituting each of Counts 23

 3 through 29. Lastly, a visual summary of the payments from Netflix, Inc. to certain vendors and the flow

 4 of cash and stock to Defendant and accounts he controlled.

 5          The Government intends to offer these summaries into evidence to prove Defendant’s control of

 6 Unix Mercenary, LLC, and to prove that the proceeds (cash and stock options) of the alleged fraud

 7 scheme flowed directly to Defendant or indirectly through his sole-member company, Unix Mercenary,

 8 LLC. All of the financial records upon which the summaries will be based which are currently in the

 9 government’s possession have been provided to Defendant in discovery. With the exception of

10 documents seized during the search of Defendant’s residence, the parties have stipulated to the financial

11 records of Wells Fargo Bank, Silicon Valley Bank, and First American Title as business records. The

12 government expects that approximately 42 exhibits relating to Defendant’s and Unix Mercenary, LLC’s

13 bank accounts and other financial documents will be introduced to prove the flow of proceeds from the

14 alleged fraud scheme to Defendant, including transactions identified in Counts 23 through 29. As a

15 result, the government intends to introduce summaries of voluminous admitted evidence on these three

16 subjects pursuant to Rules 1006.

17          The Rule 1006 summaries and summary charts to be offered or used during the testimony of Ms.

18 Kikugawa will not be finalized until shortly before her testimony because they will incorporate the

19 evidence admitted at trial. Drafts containing information expected to be admitted and included in

20 summary exhibits are attached here and have previously been produced to Defendant. Copies of

21 updated summaries will be provided to the Court and Defendant as early as practicable and prior to the

22 witness being called to testify.

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           Exhibit B also contains witness Kikugawa’s analysis of the proceeds of the alleged specified
28 unlawful activity using the lowest intermediate balance method.
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 1          Respectfully submitted this 22d day of March, 2021.

 2                                                     STEPHANIE M. HINDS
                                                       Acting United States Attorney
 3

 4                                                     /s/ Colin Sampson___________________
                                                       COLIN SAMPSON
 5                                                     DANIEL KALEBA
                                                       Assistant United States Attorney
 6
                                                       Attorneys for the United States of America
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